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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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10
        UNITED STATES OF AMERICA,                          CASE NO. CR11-5408RJB
11
                               Plaintiff,                  ORDER DENYING MOTION FOR
12                                                         SEVERANCE OF COUNT 16 FROM
                v.                                         THE THIRD SUPERSEDING
13                                                         INDICTMENT
        ALEXANDER WALLS,
14
                               Defendant.
15

16          This matter comes before the court on the above-referenced motion (Dkt. 137). The court

17 is familiar with the records and files herein and all documents filed in support of and in

18 opposition to the motion, and is fully advised.

19          The Third Superseding Indictment properly joined Counts 1, 2, 4, 6, 7, 10 and 16

20 pursuant to Federal Rule of Criminal Procedure 8(a) because the offenses charged “are of the

21 same or similar character . . . or are connected with or constitute parts of a common scheme or

22 plan.”

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24
     ORDER DENYING MOTION FOR SEVERANCE
     OF COUNT 16 FROM THE THIRD
     SUPERSEDING INDICTMENT- 1
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 1         Defendant brings this Motion for Severance under Federal Rule of Criminal Procedure

 2 14(a), but the showing made by defendant is insufficient to show that the defendant is prejudiced

 3 by the joinder. Accordingly, the motion should be DENIED.

 4         Therefore, it is now

 5         ORDERED that defendant’s Motion for Severance of Count 16 from the Third

 6 Superseding Indictment (Dkt. 137) is DENIED.

 7         The Clerk is directed to send uncertified copies of this Order to all counsel of record and

 8 to any party appearing pro se at said party’s last known address.

 9         Dated this 29th day of October, 2012.



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                                         ROBERT J. BRYAN
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                                         United States District Judge
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24
     ORDER DENYING MOTION FOR SEVERANCE
     OF COUNT 16 FROM THE THIRD
     SUPERSEDING INDICTMENT- 2
